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                   IN THE DISTRICT COURT OF THE UNITED STATES

                     FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                     )       CR. NO.: 12-CR-00315-JAM
                                             )
         vs.                                 )       [PROPOSED] ORDER FOR
                                             )       SUBPOENA OF WITNESS
LEE LOOMIS                                   )       AND ORDER FOR IMMEDIATE
                                             )       PRODUCTION PURSUANT
                                             )       TO RULE 17(c)

         Upon motion of the defendant, by and through his counsel, and upon good cause being

shown,

         IT IS HEREBY ORDERED that the Clerk of Court shall issue a subpoena duces tecum

for the following witness to produce records forthwith, pursuant to Rule 17(b) and (c), Federal

Rules of Criminal Procedure.

                Subpoena Duces Tecum
                Intuit, Inc
                2632 Marine Way, MS2675
                Mountain View, CA 94043
                Telephone: (650) 944-6000
                Fax: (650) 944-5656

         The Court finds certain records which may be of evidentiary value in the above-entitled

case, and it further appearing these documents are needed immediately, IT IS THEREFORE

ORDERED that in accordance with Rule 17(c), Federal Rules of Criminal Procedure, the

papers, documents or objects, or copies thereof, set forth in the attached subpoena issued to:

Intuit, Inc, 2632 Marine Way, MS2675, Mountain View, CA 94043 be provided forthwith, to the

attorney for the defendant, David D. Fischer, Law Offices of David D. Fischer, APC, 5701

Lonetree Blvd., Suite 312, Rocklin, CA 95765, so that they may be inspected and examined.


Dated: December 7, 2015
